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ATTORNEY FOR DEFENDANT TIMOFEY BABICHENKO

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA, |)
) CASE NO. CR18-258-BLW
Plaintiff, )
)
_ vs. ) MOTION FOR OUT OF STATE
) TRAVEL
TIMOFEY BABICHENKO, )
)
Defendant. )
)

 

COMES NOW, above-named Defendant, TIMOFEY BABICHENKO, by and through his
attorney of record, Rob S. Lewis, and hereby requests permission from the Court for travel out of
state for the following reasons:

1. TIMOFEY BABICHENKO, wish to travel to a wireless retail trade show (CES) in

Las Vegas. The trade show will be held January 7-11, 2020. The parties wish to present
their Sahara Case brand at the trade show.

2. TIMOFEY BABICHENKO, PIOTR BABICHENKO, and PAVEL BABICHENKO

would be staying at the Bellagio Hotel located at 3600 S. Las Vegas Blvd, (888)987-

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6667.

3. Joel Osborne, TIMOFEY BABICHENKO’s supervising officer was contacted on
November 12, 2019, 2019 and he has no concerns about TIMOFEY BABICHENKO
traveling to and from Las Vegas, Nevada.

RESPECTFULLY SUBMITTED this 13th day of November, 2019.

/s/ Rob S. Lewis
ROB S. LEWIS

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on the 13TH day of November, 2019, I caused to be
served a true and correct copy of the foregoing by the method indicated below, and
addressed to the following:

 

 

Samuel Richard Rubin [] US. Mail
Federal Public Defender ECF Notification
Federal Defender Services of Idaho [J Overnight Mail
702 West Idaho Street, Suite 1000 [| Telecopy (Fax)
Boise, ID 83702

Kate Horwitz, Assistant U.S. Attorney [] U.S. Mail

Office of the United States Attorney ECF Notification
Washington Group Plaza, IV [| Overnight Mail
800 Park Blvd. Suite 600 [J Telecopy (Fax)
Boise, ID 83712

khorwitz@usa.do].gov

Christian Nafzger, Assistant U.S. Attorney [| U.S. Mail

Office of the Unite States Attorney ECF Notification
Washington Group Plaza, IV [J Overnight Mail
800 Park Blvd. Suite 600 [J Telecopy (Fax)
Boise, ID 83712

cnafzger@usa.doj.gov

Joel Osborne, U.S. Probation Officer [| U.S. Mail

550 W. Fort Street Xx] ECF Notification
Boise, ID 83724 [| Overnight Mail
Joel osborne@idp.uscourts.gov [| Telecopy (Fax)
John Charles DeFranco [ | U.S. Mail
Ellsworth, Kallas & DeFranco, PLLC ECF Notification
1031 E. Park Blvd. L] Overnight Mail
Boise, ID 83712 [| Telecopy (Fax)
jcd@greyhawklaw.com

Dartanyon Gabriel Burrows [| U.S. Mail

Elisa G. Massoth, PLLC Xx] ECF Notification
POB 1003 [ ] Overnight Mail
Payette, ID 83661 [J Telecopy (Fax)

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U.S. Mail

ECF Notification
Overnight Mail
Telecopy (Fax)

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HOMO OOK COW COM COR

/s/ Rob Lewis
ROB S. LEWIS
Attorney for Timofey Babichenko
